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                                       ORDER

The court ADOPTS the parties’ stipulation without any additions or modifications.

IT IS SO ORDERED.

Dated this 7th day of October, 2021.

                                       /s/ Clare R. Hochhalter
                                       Clare R. Hochhalter, Magistrate Judge
                                       United States District Court
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